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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

 LYNNETTE J. KAISER, et al.,

                       Plaintiffs,

                v.                                     No. 3:20-cv-278-RLY-CSW

 ALCOA USA CORP., et al.,

                       Defendants.


               DEFENDANTS’ MOTION TO WITHDRAW ERRONEOUSLY
               FILED MEMORANDUM OF LAW IN SUPPORT OF MOTION
                TO STAY INJUNCTION PENDING APPEAL (ECF No. 185)

        Defendants move the Court to withdraw their Memorandum of Law in Support of Motion

 to Stay Injunction Pending Appeal (ECF No. 185) as erroneously filed. The document at ECF

 No. 185 is a draft document that contains references to exhibits that do not correspond to the

 Appendix of Exhibits at ECF No. 185-1. The Amended Memorandum of Law in Support of

 Motion to Stay Injunction Pending Appeal Defendants intend to promptly file will correct this

 issue; there are no substantive differences between the two documents.

        WHEREFORE, Defendants respectfully request that this Court grant their Motion to

 Withdraw Erroneously Filed Memorandum of Law in Support of Motion to Stay Injunction

 Pending Appeal (ECF No. 185).



 DATED: April 14, 2025                            Respectfully submitted,


                                                   /s/ Mark E. Miller

                                                  MARK MILLER LAW OFFICE
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                                 CERTIFICATE OF SERVICE

         I hereby certify that, on April 14, 2025, a copy of the foregoing was filed electronically.
 Service of this filing will be made on all ECF-registered counsel by operation of the court’s
 electronic filing system. Parties may access this filing through the court’s system.

                                               /s/ Mark E. Miller
                                                 Mark E. Miller
